CJA 20 APP()iN'l'MENT OF AND AU'I`HOR|TY 'I‘() PAY (jOURT APF()INTED COUNSEL

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TNW Hayes, Corey

 

 

 

 

 

 

 

 

 

  
  

 

 

 

    

 

 

 

3. MAG. DKTJDEF. NUMBER 4. DlST. DKTJDEF. NU'MBER 5. APPEALS DKT.¢'DEF. NUMBER 6. OTHER DKT. NUMBER
2:05-020190-002_1 9
'7. IN CASEJ'MAT'!'ER OF (Case Name) 3. PAYMENT CATEGORY 9. 'T'YPE PERSON REPRESENTED 10. l(\§EP§lE`SEl:TA;I`ION TYPE
ee ns rue ons
U.S. v. Hayes Felc)ny Adult Defendant Crlrnmal Case _,,.t_
./
11- OFFENSE(Si CHARGED (Cile U-S- Codt!, 'Iitle 8c S&€liol'l) ll more than one offense, iist top to lived maier offenses charged, according to severity ololl'ertse. § |";\
|.) 18 1708.F -- THEP'I` OR RECEIPT OF STOLEN MAIL MATTER O
s z . §
m x .>-r.
12. A'l'l`ORNEY’S NAME (FirstNolne.M.[.,Last Nttnle.incltlding any sullix] 13. COURT ()RDER "D ‘ \ 1
AND MAILING ADDRESS ix 0 Appotming counsel Cl C 130-counsel / .¢ _ 63 \
McC]uSky L()rna l:] F Suhs For li`otleral Del`el\der' l:l ll Suhs For Reta'lned mi _ ' ‘F `
3074 East Su.eet l] P Subs For Panel Attomey |:l Y St.andby Counsel /“'"" - ` » ,$’ \_
\ ` . ' f \
Memphis TN 38128 Prior Atl,orney's Nolne: "»" " ‘ ' '5* \
A__' 1 Date: 1 \ k {p. .O
l:i Beeause the above-named person represented has testified under oath or has=»';r /J` §§ ';¢I 0
otherwise satislled this court that he or she th is financially unable to employ conf `p
Te|,phnm N“mher._ l?.i does not wish to waive coume|. and because nte\‘ests ol'justir:e so require`
__"'----_--_ attorney whose name appears in item 12 is a nted to represent this person in this ease?g\
14. NAME AND MAILING ADDRESS OF LAW FlRM (only provide per illstr\tt'l.iolts) or _ __F_,_ 4
Masse and McClusk m O"‘°"( "““ %"” g
3074 asc 31 y _ '”"B - nfl f-'””"”’“_. '5{5'/'
- Signature of Presld ng lIudlt:lal Ol'l|cer or By Order of the Court
M€lTlpi`llS TN 38128 nj[nj[')mq
hale ofOl'tier Num: pro 'l`tmc Date
Repayment or partial repayment ordered from the person reprsented for this service at

 

time olappointment. L__i YES Cl NO

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HOURS TDTAL MA'I'HITECH MATH!I'ECH ADDITK)NAL
CATEGORIES (Altat:h itemization oi' services with date§) CLMMED él]_\“lA(R{l§; AI`HBJB'HED 113 B%'H§Ii‘.) REV|EW

 

1$. a. Arraignment and/or Plea - ` *` nw

 

b. Bail and Detention Hearings -‘ ` " ` §§

 

c. Motion Hearings ' ` s : ' " d §§
d. Tri»u ` ` 4 `
e. Sentencing Hearings _:. _.
l’. Revocation Hearings `

g. Appeais Court .
h. Other (Specify on additional sheets) _ _ _ _. . §

 

 

 

 

 

   

 

 

.-.::Qq .':-

 

 

(Rate per hour = $ ) TOTALS:

 

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a. Interviews and Conferencas `: '_ v~§_
b. Obtoining and reviewing records

c. Legal research and brief writing

d. Travel time

c. lnvastigative and Other \mrk (sp¢dry nn additional sham

 

 

 

 

 

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(Rate per hour = $ ) 'IUTA.LS:
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18. Othel‘ Expenses luther than expert, transcripts etc.)

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FROM TO IF OTHER ’l'HAN CASE COMFLETION

 

  

 

   

 

 

 

 

22. CLA|M STATUS [:] Flllal Plymeot [| lnterlnt Paymenl Number __ |:| Suppiememal Payment
i-|ave you previously applied to the court for compensation and!or renlimbunement for this cose'.’ l:] YES i:l NO Ifyes, were you pald’.’ |:] YES [] NO
Other than from the court. have you. or to your knowledge has anyone else, received payment (conlpensation or anything or value) from any other source in connection with this
reprtselttatio¢l? ij YES \:i NO Iryes, give details on additional sheets.

l swear or all'irm the truth or correctness of the above statements

 

Signature o|'Attorney: Date:

    
       

 

 

 

 

 

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23. lN COUR’I` COMP. 24. ()UT OF COURT COMP. 25. TRAVEL EXPENSE 26. OTHER EXPENSES 27. TOTAL AMT. APPR /CERT
28. SIGNATURE OF 'I'HE PRESIL'|ING JUD[C[AL OFFICER DATE 28a. JUDGE l MAG. JUDGE CO[)E
29. lN COURT COMP. 30. OUT OF COURT COMP. 31. TRAVEL EXPENSES 32. O'I'HER EXPENSES 33. ’IUTAL AM'I`. AP|’ROVED
34. SIGNATURE OF ll l'EF .IUDGE. C£lURT OF APPEALS (OR DELEGATE) Poyment DATE 343. .IUDGE CODE
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UNITED S`ATE DSTIIC COURT - WETER DISTRCT oFTENNESSEE

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ThiS notice confirms a copy of thc document docketed as number 27 in
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Ste. 800

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Honorablc Bcrnicc Donald
US DISTRICT COURT

